




NO. 07-02-0356-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL C



DECEMBER 10, 2002

______________________________



ESAU RODRIGUEZ,



Appellant



v.



THE STATE OF TEXAS, 



Appellee

_________________________________



FROM THE 222
ND
 DISTRICT COURT OF DEAF SMITH COUNTY;



NO. CR99K-099; HON. DAVID WESLEY GULLEY, PRESIDING

_______________________________



Before QUINN, REAVIS and JOHNSON, JJ.

ON ABATEMENT AND REMAND

Appellant Esau Rodriguez appeals from a judgment convicting him of attempted sexual assault. &nbsp;The clerk’s record is due in this cause, and an extension of the applicable deadline was sought. &nbsp;To justify the extension, the district clerk represented that appellant has failed to 1) file a written designation for the clerk’s record, 2) file a written designation for the reporter’s record and 3) pay or make arrangements to pay for the record. &nbsp;This is the second request filed by the district clerk. &nbsp;The first request was based on the same reasons that are before us now. &nbsp;Nothing of record appears showing the appellant is indigent and entitled to a free record. 

Accordingly, we now abate this appeal and remand the cause to the 222nd District Court of Deaf Smith County (trial court) for further proceedings. &nbsp;Upon remand, the trial court shall &nbsp;immediately cause notice of a hearing to be given and, thereafter, conduct a hearing to determine the following: 

 &nbsp;&nbsp;&nbsp;&nbsp;1. &nbsp;whether appellant desires to prosecute the appeal; 

 &nbsp;&nbsp;&nbsp;&nbsp;2. &nbsp;whether appellant is indigent; and, 

 &nbsp;&nbsp;&nbsp;&nbsp;3. &nbsp;whether the appellant is entitled to a free appellate record due to his indigency. 

The trial court shall cause the hearing to be transcribed. &nbsp;So too shall it 1) execute findings of fact and conclusions of law addressing the foregoing issues, 2) cause to be developed a supplemental clerk’s record containing the findings of fact and conclusions of law and all orders it may issue as a result of its hearing on this matter, and 3) cause to be developed a reporter’s record transcribing the evidence and arguments presented at the aforementioned hearing. &nbsp;Additionally, the district court shall then file the supplemental record with the clerk of this court on or before January 10, 2003. &nbsp;Should further time be needed by the trial court to perform these tasks, then same must be requested before January 10, 2003. 

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;It is so ordered. 

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Per Curiam 

 

Do not publish. 

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